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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY          )
 AND AS ADMINISTRATRIX OF THE            )
 ESTATE OF TYRE DEANDRE NICHOLS,         )
 DECEASED,                               )
                                         )
      Plaintiffs,                        )
                                         )
 v.                                      )                  CASE NO. 2:23-CV-02224
                                         )                  JURY DEMAND
 THE CITY OF MEMPHIS, a municipality, et )
 al.,                                    )
                                         )
      Defendants.                        )


         GUARDIAN AD LITEM’S MOTION FOR STATUS CONFERENCE
_____________________________________________________________________________

        COMES NOW the duly appointed Guardian ad litem, CHASITY S. GRICE,

(HEREINAFTER REFERRED TO AS “Guardian ad litem”), moves this Court to set a

status conference and to discuss the scope of the Guardian ad litem appointment in these

proceedings. In support of her Motion, the Guardian ad litem states as follows:

   I.      FACTUAL BACKGROUND

        1. On November 8, 2023, the Shelby County Probate Court appointed Plaintiff as

           Administratrix of the Estate of Tyre Deandre Nichols (“Decedent”). The Order stated

           that Decedent died intestate and that his heir-at-law is his Minor Child. The Order

           further gave Plaintiff the authority to pursue any and all litigation, in any and all

           courts, on behalf of Decedent. ([177-Nichols] City of Memphis' Motion For the

           Appointment of Guardian Ad Litem). On April 5, 2024, Defendant, City of Memphis,

           filed a Motion to Appoint Guardian ad litem, indicating its concern that a conflict
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         existed when evaluating a settlement that would resolve both the claims of Plaintiff

         and Minor Child and requesting that a Guardian ad litem be appointed to represent

         the interests of the minor child ([177-Nichols] City of Memphis' Motion For the

         Appointment of Guardian Ad Litem). On September 16, 2024, the Court granted the

         City of Memphis' Motion for the Appointment of a Guardian ad litem ([202-Nichols]

         Order Granting Motion for Appointment of Guardian Ad Litem).

II.      REQUEST FOR STATUS CONFERENCE

         In light of the above, the Guardian ad litem now seeks the Court's guidance on the

following issues to effectively fulfill the role and ensure the Minor Child's best interests are

safeguarded:

      1. Participation in Settlement Negotiations: Clarification on the Guardian ad litem's

         involvement in any settlement discussions and the extent of authority to negotiate on

         behalf of the Minor Child.

      2. Representation in Court Proceedings: Guidance on the specific court appearances

         and filings where the presence and advocacy of the Guardian ad litem are required.

      3. Reporting and Communication: Defined expectations for reporting to the Court and

         maintaining communication with other parties involved in the litigation to keep the

         proceedings transparent and in the best interest of the Minor Child.

      4. Billing for Services: Defined expectations regarding regular billing and the

         responsibilities of the parties for the payment of said billing and services.

      WHEREFORE, Guardian ad litem respectfully requests that this Honorable Court either

      grant this said motion for a status conference to address and clarify the aforementioned
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       issues concerning the scope and responsibilities of the Guardian ad litem in these

       proceedings or that this Honorable Court enter an Order clarifying same.

                                     Respectfully Submitted,

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                                     By: /s. Chasity S. Grice
                                     BPR #27532
                                     cgrice@eflawgroup.com
                                     Guardian ad litem


                            CERTIFICATE OF SERVICE

       I, Chasity S. Grice, hereby certify that on October 16, 2024, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such
system will serve a copy of the foregoing pleading upon all counsel of record in this action.


                                                    /s/ Chasity S. Grice____________________
                                                    Chasity S. Grice
